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 5
                          UNITED STATES DISTRICT COURT
 6
                        EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,            CR. NO. 2:11-0296-07 WBS
10
                  Plaintiff,
11
          v.                              ORDER OF REASSIGNMENT
12
     CHRISTIAN PARADA RENTERIA,
13
                  Defendant.
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                                  ----oo0oo----
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18        The undersigned has reviewed the file herein and orders

19   that the above-captioned case as to defendant Christian Parada
     Renteria only be reassigned to the Honorable John A. Mendez for
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     all further proceedings.
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          IT IS HEREBY ORDERED that the Clerk of the Court reassign
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     this case to the Honorable John A. Mendez.        The parties shall
24
     take note that all documents hereafter filed with the Clerk of
25
     the Court shall bear case number 2:11-CR-00296-07 JAM.            All
26
     currently scheduled dates presently set before Judge Shubb are
27   hereby VACATED as to Christian Parada Renteria only.
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      Case 2:11-cr-00296-JAM Document 488 Filed 01/03/17 Page 2 of 2


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 3        IT IS SO ORDERED.

 4   Dated:   January 3, 2017

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 7        Having also reviewed the file, I accept reassignment of

 8   this case for all further proceedings as to Christian Parada

 9   Renteria only.

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     DATED:   1/3/2017
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12                                     /S/ John A. Mendez           ______
                                       JOHN A. MENDEZ
13                                     UNITED STATES DISTRICT COURT JUDGE
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